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 5   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
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 7
                              UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
11               Plaintiff,                        DEFENDANT’S BRIEF AND REQUEST
12                      v.                         FOR RELIEF RELATING TO WITNESS 1
13   MICHAEL JOHN AVENATTI,
14               Defendant.
15
16
17         Michael J. Avenatti (“Mr. Avenatti”) comes now, through his advisory counsel of
18   record, H. Dean Steward, and files his brief and request for relief relating to Witness 1.
19
      Dated: August 11, 2021                    Respectfully submitted,
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                                               /s/ Michael J. Avenatti
21
                                               Defendant
22                                             MICHAEL JOHN AVENATTI
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
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 3   I.    INTRODUCTION
 4         On August 8, 2021, defendant served Witness 1 with a trial subpoena requiring
 5   her to appear to testify in defendant’s case-in-chief on Thursday, August 12. Witness 1
 6   presently claims that she has Covid-19, although there is competing claims as to whether
 7   she informed the defense paralegal who served her on August 8, 2021 that she was no
 8   longer suffering from Covid-19. See, e.g., Dkt. 674, 681.
 9
10   II.   ARGUMENT
11         For each of the following reasons, Witness 1 should be required to comply with
12   the subpoena and testify live or, if she is presently unable to do so due to her health, the
13   trial should be adjourned until such time as she is able to testify live.
14         First, defendant accurately predicted that Covid-19 and the Delta variant would
15   interfere with the ability to complete the trial in a proper manner. In fact, citing his
16   concerns about Covid-19, defendant moved for a trial continuance. [Dkt. 547, filed July
17   19, 2021]. The government opposed. Despite the prejudice to the government
18   associated with any delay being negligible, the defendant’s motion was denied on July
19   20, 2021. See e.g., Trial Tr. (7/20/21, Vol. 1) p. 7.
20         Second, defendant has a right to compulsory process and to call witnesses in his
21   defense. A criminal defendant has the power to issue a subpoena pursuant to Federal
22   Rule of Criminal Procedure 17 and both the government and the defendant “have the
23   right to call witnesses, and the power to compel witness testimony is essential to our
24   system of justice.” Barnett v. Norman, 782 F.3d 417, 422 (9th Cir. 2015); citing Blair v.
25   United States, 250 U.S. 273, 281-82 (1919). Indeed, the Supreme Court has repeatedly
26   held that a defendant has a fundamental due process right to mount a defense and call
27   witnesses on his behalf. See, e.g., Taylor v. Illinois, 484 U.S. 400, 409 (1988):
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           As we noted just last Term, “[o]ur cases establish, at a minimum, that
           criminal defendants have the right to the government's assistance in
 3         compelling the attendance of favorable witnesses at trial and the right to put
 4         before a jury evidence that might influence the determination of guilt.”
           Pennsylvania v. Ritchie, 480 U.S. 39, 56 (1987). Few rights are more
 5         fundamental than that of an accused to present witnesses in his own
 6         defense, see, e. g., Chambers v. Mississippi, 410 U.S. 284, 302 (1973).
           Indeed, this right is an essential attribute of the adversary system itself.
 7
 8         “We have elected to employ an adversary system of criminal justice in
           which the parties contest all issues before a court of law. The need to
 9         develop all relevant facts in the adversary system is both fundamental
10         and comprehensive. The ends of criminal justice would be defeated if
           judgments were to be founded on a partial or speculative presentation of the
11         facts. The very integrity of the judicial system and public confidence in the
12         system depend on full disclosure of all the facts, within the framework of
           the rules of evidence. To ensure that justice is done, it is imperative to the
13         function of courts that compulsory process be available for the production
14         of evidence needed either by the prosecution or by the defense.” United
           States v. Nixon, 418 U.S. 683, 709 (1974).
15
16         The right to compel a witness' presence in the courtroom could not protect
           the integrity of the adversary process if it did not embrace the right to have
17         the witness' testimony heard by the trier of fact. The right to offer testimony
18         is thus grounded in the Sixth Amendment even though it is not expressly
           described in so many words:
19
20         “The right to offer the testimony of witnesses, and to compel their
           attendance, if necessary, is in plain terms the right to present a defense, the
21         right to present the defendant's version of the facts as well as the
22         prosecution’s to the jury so it may decide where the truth lies. Just as an
           accused has the right to confront the prosecution's witnesses for the purpose
23         of challenging their testimony, he has the right to present his own witnesses
24         to establish a defense. This right is a fundamental element of due process of
           law.” Washington v. Texas, 388 U.S. 14, 19 (1967).
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           Third, a criminal defendant’s right to confrontation is constitutionally guaranteed.
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     U.S. Const. amend. VI; accord Pennsylvania v. Ritchie, 480 U.S. 39, 51 (1987). There is
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 1   also support that confrontation is a fundamental component of procedural and
 2   substantive due process under the Fifth and Fourteenth Amendments. Indeed, the right
 3   of confrontation is critical “where the evidence consists of the testimony of individuals
 4   whose memory might be faulty or who, in fact, might be perjurers or persons motivated
 5   by malice, vindictiveness, intolerance, prejudice, or jealousy.” Greene v. McElroy, 360
 6   U.S. 474, 496 (1959). A key component of testimony for a finder of fact is being able to
 7   perceive the witness and his or her nonverbal cues, behaviors, and reactions upon being
 8   asked questions. As Justice Scalia wrote, “The perception that confrontation is essential
 9   to fairness has persisted over the centuries because there is much truth to it. A witness
10   may feel quite differently when he has to repeat his story looking at the man whom he
11   will harm greatly by distorting or mistaking the facts. He can now understand what sort
12   of human being that man is.” Coy v. Iowa, 487 U.S. 1012, 1019 (1988) (quoting
13   Zechariah Chafee, Jr., The Blessings of Liberty 35 (1956)). And under the Constitution's
14   Confrontation Clause, a criminal witness must be physically present to testify. See
15   United States v. Gigante, 166 F.3d 75, 80 (2d Cir. 1999).
16         Fourth, it is widely understood among courts that videoconferencing is not a
17   perfect substitute for live hearings. “The immediacy of a living person is lost.” Stoner v.
18   Sowders, 997 F.2d 209, 213 (6th Cir. 1993). Moreover, “watching an event on the screen
19   remains less than the complete equivalent of actually attending it.” United States v.
20   Lawrence, 248 F.3d 300, 304 (4th Cir. 2001). Indeed, remote testimony may have a
21   significant effect on a jury’s ability to assess witness credibility, as well as how the
22   witness is perceived.
23         Fifth, Witness 1 is a critical defense witness. The government has (1) asked
24   specific questions of its witnesses on direct relating to Witness 1 (i.e. AUSA Wyman on
25   July 23, 2021: “Who is [Witness 1] who is ending this email”), (2) admitted trial
26   exhibits bearing her name (i.e. Exhibit 7), and (3) had multiple contacts with Witness 1
27   during their investigation, including at least one interview - on March 2, 2020. This is
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 1   not surprising seeing as Witness 1 was one of the first two employees of Eagan Avenatti,
 2   LLP (fka Eagan O’Malley Avenatti, LLP) (together with Judy Regnier) when the firm
 3   began in 2007 and remained at the firm for approximately a decade, until 2017.
 4   According to her interview with the government, during this time, Witness 1 was the
 5   equal to Ms. Regnier, served as defendant’s assistant and was active in communicating
 6   with the clients of the firm and assisting with the running of the law firm. She reported
 7   directly to the defendant and worked with all of the attorneys in the office. According to
 8   Ms. Regnier’s trial testimony, Witness 1 was as active as Ms. Regnier at the firm. See
 9   e.g., Trial Tr. (7/28/21, Vol. 2) p. 43. According to Witness 1 as stated at her interview
10   with the government, during her tenure, Ms. Regnier never expressed any concerns about
11   the firm to Witness 1. Witness 1 eventually quit the firm due to Ms. Regnier. Also,
12   according to Witness 1, she assisted in completing attorney fee contracts with clients and
13   was involved in the Geoffrey Johnson and Greg Barela cases. Further, on information
14   and belief, Witness 1 recently testified in the Johnson arbitration matter. Finally, during
15   her interview with the government, Witness 1 informed agents and AUSA Sagel that
16   defendant never asked her to forge any signature, never asked her to destroy documents,
17   and never asked her to manipulate any documents.
18          Sixth, the government’s desire to quickly convict the defendant at all costs must
19   yield to the defendant’s Constitutional rights, including his right to due process, right to
20   compulsory process, right to call witnesses, and right to confrontation. First the trial
21   must be done right. Only then can it be done quickly.
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23   III.   CONCLUSION
24          For each of the above reasons, Witness 1 should be required to comply with the
25   subpoena and testify live or, if she is presently unable to do so, the trial should be
26   adjourned until such time as she is able to testify live.
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 1
      Dated: August 11, 2021                Respectfully submitted,
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 3                                         /s/ Michael J. Avenatti
 4                                         Defendant
                                           MICHAEL JOHN AVENATTI
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5   I am not a party to the above-entitled action. I have caused, on August 11, 2021 service

 6   of the:
 7
      DEFENDANT’S BRIEF AND REQUEST FOR RELIEF RELATING TO WITNESS 1
 8
     on the following party, using the Court’s ECF system:
 9
10   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN

11   I declare under penalty of perjury that the foregoing is true and correct.
12
     Executed on August 11, 2021
13
14                                           /s/ H. Dean Steward
15                                           H. Dean Steward
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